Case 4:20-cv-00179-RBS-DEM Document 190 Filed 01/12/22 Page 1 of 22 PagelD# 5591

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Newport News Division

UNITED STATES OF AMERICA,

FOR THE USE AND BENEFIT OF

MCKENNEY’S, INC.
Plaintiff,

Vv. CIVIL ACTION NO. 4:20cv179

LEEBCOR SERVICES, LLC
and
THE CINCINNATI INS. Co.,

Defendants.

MEMORANDUM ORDER

This matter comes before the court on three partially

dispositive Motions for Summary Judgment (“Motions”) filed by
McKenney’s, Inc. (“Plaintiff”), Leebcor Services, LLC (“Leebcor”),
‘and The Cincinnati Insurance Company (“Cincinnati”) (Leebcor and

Cincinnati, collectively, “Defendants”). ECF Nos. 108, 116, 118.
For the reasons explained below, the court ADOPTS AND APPROVES IN
FULL the findings and recommendations set forth in the Magistrate
Judge’s thorough and well-reasoned Report and Recommendation, ECF
No. 173 (R&R), as supplemented by this Memorandum Order, OVERRULES
Defendants’ Objections, ECF Nos. 175, 176 (“Objections”), and

DENIES the Motions.
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I. PROCEDURAL HISTORY

Plaintiff filed its Complaint on May 8, 2020. ECF No. 1. On
June 25, 2021, Plaintiff filed a Partial Motion for Summary
Judgment (“Plaintiff’s Motion”). ECF No. 108. The same day,
Defendants jointly filed their own Partial Motion for Summary
Judgment, ECF No. 116 (“Joint Motion”), and Cincinnati
individually filed a Partial Motion for Summary Judgment, ECF
No. 118 (“Cincinnati’s Motion”). Each of the Motions was fully
briefed by the parties.

The court referred the Motions to United States Magistrate
Judge Douglas E. Miller by Order entered July 22, 2021, pursuant
to the provisions of 28 U.S.C. § 636(b)(1)(B), Federal Rule of
Civil Procedure 72(b), and Local Civil Rule 72, to conduct
hearings, including evidentiary hearings, if necessary, and to
submit to the undersigned proposed findings of fact, if applicable,
and recommendations for the disposition of the Motions. ECF
No. 138. The Magistrate Judge filed a Report and Recommendation on
September 20, 2021, explaining that disputes of material fact
existed concerning all relevant claims, and recommending that the
court deny the Motions. R&R at l.

By copy of the Report and Recommendation of the Magistrate
Judge, the parties were advised of their right to file written
objections thereto. Id. at 34-35. On October 4, 2021, Defendants

filed Objections to the portion of the Report and Recommendation
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regarding their Partial Motions for Summary Judgment. ECF No. 175,
176 (“Objections”). Plaintiff filed a Memorandum in Opposition to
Defendants’ Objections on October 18, 2021, ECF No. 177, but did
not object to the Magistrate Judge’s ruling on its Motion.
Defendants filed a “Motion for Leave to File Defendants’ Reply to
Objections to Magistrate Judge’s Report and Recommendations” on
October 27, 2021, ECF No. 182, which the court denied on
December 8, 2021, ECF No. 189.
II. LEGAL STANDARDS
A. Review of Magistrate Judge’s R&R

Pursuant to Rule 72(b) of the Federal Rules of Civil
Procedure, the court, having reviewed the record in its entirety,
must make a de novo determination of those portions of the R&R to
which the parties have specifically objected. Fed. R. Civ.
P. 72(b). For unchallenged portions, the court “must ‘only satisfy
itself that there is no clear error on the face of the record in
order to accept the recommendation.’” Diamond _v. Colonial Life

& Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (quoting

 

Fed. R. Civ. P. 72 advisory committee's note). The court may
accept, reject, or modify, in whole or in part, the recommendation
of the Magistrate Judge, or recommit the matter to him with

instructions. 28 U.S.C. § 636(b) (1).
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B. Summary Judgment Standard
Summary judgment is appropriate when the court, viewing the
record as a whole and in the light most favorable to the nonmoving
party, finds there is no genuine issue of material fact and that
the moving party is entitled to judgment as a matter of law. Austin

v. Clark Equip. Co., 48 F.3d 833, 835-36 (4th. Cir. 1995). “Thus,

 

it is the burden of the moving party to show the court that no
material factual issues exist for trial.” Id. at 835.

If the moving party carries its burden, the court should grant
summary judgment if the nonmoving party has failed to establish,
after adequate time for discovery, the existence of an essential
element of that party’s case. Celotex Corp. v. Catrett, 477 U.S.
317, 322-23 (1986). At a minimum, the nonmoving party must present
“evidence on which the [trier of fact] could reasonably find” for
the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 252 (1986). The nonmoving party must go beyond the facts
alleged in the pleadings, and rely instead on affidavits,
depositions, or other evidence to show a genuine issue for trial.
See Celotex, 477 U.S. at 324; M & M Med. Supplies & Serv., Inc. v.

Pleasant Valley Hosp., Inc., 981 F.2d 160, 163 (4th Cir. 1992).

 

“When faced with cross-motions for summary judgment, the
court must review each motion separately on its own merits ‘to
determine whether either of the parties deserves judgment as a

matter of law.’” Rossignol v. Voorhaar, 316 F.3d 516, 523 (4th Cir.

 
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2003) (quoting Philip Morris Inc. v. Harshbarger, 122 F.3d 58, 62
n.4 (lst Cir. 1997)).
III. OBJECTIONS

The court will briefly review some of the facts key to
understanding Defendants’ Objections and the court’s analysis.}
This dispute centers around a barracks-renovation project at Fort
Benning, Georgia (the “Project”). R&R at 3. In 2016, Leebcor
entered into an agreement (the “Prime Contract”) with the United
States Army Corps of Engineers (“USACE”) to complete the Project.
To comply with the requirements of the Miller Act, 40 U.S.C.
§ 3131, et. seq., Leebcor secured its payment obligations on the
Project with a payment bond from Cincinnati in the amount of
$36,800,206. R&R at 3; ECF No. 1-1.

Plaintiff and Leebcor then entered into a Subcontract on
June 22, 2017, under which Plaintiff agreed to complete the
plumbing, HVAC, and direct digital controls (“DDC”) systems
requirements for the Project. R&R at 3; ECF No. 1-2 at 11. The
parties’ three Motions concern five issues that turn on

interpretations of the Subcontract and the Miller Act.

 

1 The court ADOPTS in full the Magistrate Judge’s recommended
findings of fact, as supplemented by this Memorandum Order, and
need not repeat his thorough recitation of the relevant factual
background here. See R&R at 3-10.

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A. Plaintiff’s Motion (ECF No. 108)

Thus far, Plaintiff has received $9,943,622 from Leebcor
pursuant to the Subcontract. R&R at 9. In its Motion, Plaintiff
argues that it is entitled to payment of an additional $220,347.50,
plus interest, which it claims represents the remaining
Subcontract balance. ECF No. 108 at 2. The Magistrate Judge
recommended that the court deny Plaintiff’s Motion “because
reasonable jurors could conclude that [Plaintiff] breached its
subcontract,” and therefore Plaintiff “cannot establish as a
matter of law that the sums withheld are ‘payments owed by’ Leebcor
under the subcontract.” R&R at 31.

Plaintiff did not object to this recommendation and the court
does not find any clear error on the face of the record.
Accordingly, the court ADOPTS and APPROVES the Magistrate Judge's
conclusion that Plaintiff is not entitled to summary judgment on
this issue.

B. Defendants’ Joint Motion (ECF No. 116)

In their Joint Motion, ECF No. 116, Defendants argue that
they are entitled to summary judgment on two issues. First, they
contend that Plaintiff's “claim for damages from the
Government-caused delay at the outset of the project is barred by
clear [Subcontract] language that binds [Plaintiff] to any
decision that the Government makes on this issue.” ECF No. 117

at 1. Second, they argue that Plaintiff’s “claim for compensation
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for allegedly out-of-scope work to protect its own ductwork fails
because that work is clearly within the scope of the project.” Id.
Magistrate Judge Miller recommended that the court deny
Defendants’ Joint Motion in its entirety. R&R at 25.

1. Delay Damages

Defendants argue that Plaintiff’s claim for damages relating
to the initial delay of work on the Project (“Initial Delay”)
should be denied as a matter of law, explaining that Plaintiff is
“bound by the Government’s decision to cover only a small portion
of the asserted costs for the Initial Delay.” ECF No. 117 at 13.
Judge Miller recommended denying summary judgment as to this issue,
reasoning that a genuine issue of fact existed for trial because
a “reasonable juror could conclude that [Plaintiff] is not bound
by the Government’s decision to approve only part of the Initial
Delay damages because Leebcor can still appeal the Modification
under the [Contract Disputes Act, 41 U.S.C. §§ 7101-7109].” R&R
at 25.

Defendants objected, arguing that the Magistrate Judge erred
in concluding that disputed factual issues prevented granting
summary judgment. ECF No. 176 at 12. The relevant Subcontract
provision explains as follows:

If a decision relating to the Prime Contract is made by

the [USACE] and such decision is also related to [the

Subcontract], said decision, if binding upon [Leebcor]

under the Prime Contract, shall in turn be binding upon
[Plaintiff] with respect to such matter if [Plaintiff]
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is allowed to provide any required or supporting

documentation in the basis of [the USACE's] decision. If

[Leebcor] elects to appeal any such decision of the

[USACE], [Leebcor] agrees to promptly furnish

[Plaintiff] with a copy of such appeal. Any decision

upon appeal of such matter, if binding upon [Leebcor],

shall in turn be binding upon [Plaintiff]. Pending the

making of any decision, either by the [USACE] or on
appeal, [Plaintiff] shall proceed diligently with
performance of [the Subcontract].

ECF No. 1-2 at 5 (Art. 14).

Under this provision Plaintiff is only bound by USACE
decisions that satisfy three requirements: (1) the decision must
relate to both the Prime Contract and the Subcontract; (2)
Plaintiff must have been “allowed to provide any required or
supporting documentation in the basis of [the USACE's] decision”;
and (3) the decision must be “binding upon [Leebcor] under the
Prime Contract.” The court agrees with Judge Miller’s conclusion
that a material factual issue concerning the third requirement
remains. R&R at 26-27.

A reasonable juror could find that the USACE’s decision
concerning Initial Delay damages is not “binding upon” Leebcor
because Leebcor retains the ability to appeal the decision and
seek additional compensation from the government for the Initial
Delay. See id. As this issue alone precludes summary judgment, the

court agrees that “it is unnecessary to discuss the sufficiency of

[Plaintiff's] documentation under Article 14, or the conditions of
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the Government’s partial approval.” R&R at 28.?

Accordingly, the court ADOPTS and APPROVES the Magistrate
Judge’s conclusion that a genuine dispute of material fact exists
concerning whether the USACE’s Initial Delay damages decision is
“binding upon” Leebcor.

2. Ductwork Protection

Plaintiff seeks compensation for “additional cleaning and
wrapping of ductwork during delivery and installation,” which was
purportedly beyond the scope of the Subcontract requirements. See
ECF No. 1 { 56-57. This claim stems from Leebcor’s refusal to pay
Plaintiff the $22,973 Plaintiff represents it incurred following
Leebcor’s instructions to “clean the ductwork that had been
delivered to the jobsite” and “wrap the ends of the ductwork in
blue plastic to protect the remaining duct during delivery to the
jobsite.” ECF No. 70-2 at 7-8. Defendants move for summary judgment
on this issue, arguing that “this activity was explicitly part of
[Plaintiff’s] scope of work.” ECF No. 117 at 19.

Judge Miller concluded that reasonable jurors could find that
protecting the ductwork in the manner prescribed by Leebcor fell

outside the original Subcontract scope, and therefore constituted

 

2 Defendants contest Judge Miller’s purported “holding[s]”
concerning these two issues. ECF No. 176 at 12-13. However, Judge
Miller did not recommend, and the court does not address, whether
material factual disputes concerning these matters preclude
summary judgment. R&R at 28.
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compensable additional work. R&R at 28-30. He explained that while
“the contract terms address ductwork protection, the specific
level and manner of required protection are not specified.” Id.
at 29. Defendants object, pointing to Subcontract provisions, the
Project specifications, and the LEED Silver standard to support
their Motion. ECF No. 176 at 13-19.

The court agrees with Judge Miller’s reasoning and ultimate
conclusion. See R&R at 28-30. Reasonable jurors could conclude
that no Subcontract language, or language explicitly incorporated
into the Subcontract, required Plaintiff to wrap duct before it
was transported to the jobsite. The court supplements the
Magistrate Judge’s reasoning by discussing three of the provisions
that Defendants rely on.

i. Indoor Air Quality Management Plan Provisions

Plaintiffs initially relied on provisions of the Indoor Air
Quality Management Plan (“IAQ”) to support their Motion. ECF
No. 117 7 30. Though a provision of the IAQ requires that “[a]1l
ductwork arriving on site .. . be sealed with plastic sheeting,”
a reasonable juror could find that this provision was not
incorporated into the Subcontract. ECF No. 123-1 at 4.

The Subcontract includes a section entitled “Construction
Indoor Air Quality (IAQ) Management,” which uses the following
language to introduce a list of steps that Plaintiff was required

to take to protect the ductwork during construction: “[Plaintiff]

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shall comply with the following IAQ performance Requirements
.” ECF No. 1-2 at 13-14. None of the three listed
requirements, however, obligated Plaintiff to use plastic sheeting
to accomplish the listed air-quality objectives. Id. Pursuant to
the expresio_ unius canon, the court agrees that the “express
incorporation of three provisions of the IAQ - omitting any
reference to plastic sheeting - means a reasonable juror could
conclude that the IAQ’s plastic sheeting requirement did not apply
to [Plaintiff's] work.” Id. at 30.
ii. Contracting Officer Approval Provision
Plaintiffs also rely on the Project specification
incorporated into the Subcontract requiring Plaintiff to
“[p]rotect open ducting from construction dust and debris in a
manner approved by the Contracting Officer.” ECF No. 176 at 14
(referencing ECF No. 117-10 at 39 (§ 23 31 13.00 40 (3.2.2.1))).
However, this provision does not unambiguously give the
Contracting Officer discretion to direct how duct must be
transported to the Project site. The provision is within the
“Installation,” rather than the “Preparation” subsection of the
Project specifications concerning ductwork, references protection
from “construction dust and debris,” and is preceded by
instructions for assembling the components of the Project’s
ductwork. ECF No. 117-10 at 38-39; see also ECF No. 174 at 55

(Plaintiff’s counsel’s argument that “the overall quality

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requirements address protection of the ductwork, protection of all
the equipment at the site, not from the fab shop to the site”).
Accordingly, a juror could reasonably interpret this language to
authorize the Contracting Officer to direct how ductwork must be
maintained once on site, but not how the supplier must transport
it from the fabricator.

However, even construing this provision to grant such
authority, the court agrees that a reasonable juror could still
find that “there are plausible alternatives for complying without
plastic sheeting applied at the point of manufacture.” R&R at 29.
Indeed, the relevant provision’s inclusion of the phrase “a manner”
rather than “the manner” illustrates that Plaintiff could comply
by using one of several duct-protection methods. In support of an
alternative reading, Defendants submitted an email sent by Reid
Wolfe, a Leebcor representative, to Plaintiff’s employees. In it,
Mr. Wolfe explains that following a walk-through of the Project,
the Contracting Officer Representative (“COR”) “stated” that
“(t]he ductwork needs to be clean and sealed from the time it
leaves the fabrication shop until installation.” ECF No. 117-12
at 2; see also ECF No. 174 at 53-54 (Defendants’ counsel’s argument
that the contracting officer required duct to be sealed before
transportation).

Nevertheless, this statement is insufficient at the summary

judgment stage to establish definitively that sealing the ductwork

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with plastic prior to transport was the only way to “[p]rotect
open ducting from construction dust and debris in a manner approved
by the Contracting Officer.” ECF No. 117-10 (§ 23 31 13.00 40
(3.2.2.1)). The court recognizes that there is “‘great flexibility
with regard to the evidence that may be used on a [summary
judgment] proceeding,’” and that the court “may consider... the
content or substance of otherwise inadmissible materials where
‘the party submitting the evidence show[s] that it will be possible
to put the information into an admissible form.’” Humphreys &
Partners Architects, L.P. v. Lessard Design, Inc., 790 F.3d 532,
538 (4th Cir. 2015) (emphasis added) (quoting 10A Charles Alan
Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and
Procedure § 2721 (3d ed. 1998); 11 James W. Moore et al., Moore’s
Federal Practice § 56.91[2] (3d ed. 2015)).

Here, however, Mr. Wolfe’s explanation of the COR’s statement
is hearsay and Defendants have not represented how they might offer
it in an admissible form at trial. See generally Fed. Rs. Evid.
801, 802. Defendants have not filed an affidavit documenting the
COR’s statement, and the court is unwilling to speculate as to how
this statement could or would be presented. Accordingly, the court
will not rely on the hearsay statement contained in the email to

grant summary judgment.

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iii. LEED Silver Standard

Finally, Defendants point to the LEED Silver standard to
support their position that Plaintiff was required to wrap the
ends of duct prior to transport. See ECF No. 176 at 14-15. The
court agrees that the Subcontract required Plaintiff to “furnish
all material, labor, equipment, insurances, documentation, and
incidentals necessary to meet LEED SILVER equivalency for [its]
scope of work.” ECF No. 1-2 at 13 ({ 14). However, it is not clear
that the LEED standard required Plaintiff to transport duct in the
manner Defendants claim it did.

In support of their position, Defendants refer the court to
a chart Plaintiff shared before executing the Subcontract. ECF
No. 176 at 14 (citing ECF No. 176-2). The chart outlines which
“Duct Cleaning & Protection” activities are required to comply
with three standards: “Minimum,” “LEED,” and “Hospital Grade.” ECF
No. 176-2 at 3. Activities pertinent to each of the three standards
are “checked” beneath the relevant standard. Id. “Duct ends will
be shrink-wrapped for transportation and storage prior to
installation” is listed as an activity but is not “checked” under
any of the three standards. Id. The chart, therefore, does not
support Defendant’s contention that sealing duct ends prior to
transport was a required aspect of the LEED standards incorporated

into the Subcontract. See ECF No. 176 at 14-15 (arguing that the

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chart illustrates that this requirement was a part of “the
standards for LEED projects”).

For the foregoing reasons, and for the reasons stated in the
Report and Recommendation, the court ADOPTS and APPROVES the
Magistrate Judge’s conclusion that Defendants are not entitled to
summary judgment on Plaintiff’s claim for additional compensation
for their ductwork protection.

C. Cincinnati’s Motion (ECF No. 118)

Cincinnati argues that it is entitled to summary judgment on
two issues. First, Cincinnati argues that Plaintiff’s Miller Act
claim is “barred by the Miller Act’s one-year statute of
limitations ... .” ECF No. 119 at 1. Second, Cincinnati contends
that it “is entitled to summary judgment on [Plaintiff’s Miller
Act] claim to the extent that [Plaintiff] seeks damages not
permitted by the Miller Act.” Id. Judge Miller recommended denying
the Motion in its entirety. ECF No. 173 at 13.

1. Statute of Limitations

Miller Act actions “must be brought no later than one year
after the day on which the last of the labor was performed or
material was supplied by the person bringing the action.” 40 U.S.C.
§ 3133(b) (4). Cincinnati argues that it is entitled to summary
judgment on Plaintiff’s Miller Act claim because the claim is
barred by this statute of limitations. ECF No. 119 at 5.

Magistrate Judge Miller recommended denying summary judgment on

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this issue, concluding that “the record contains sufficient
evidence for a reasonable juror to conclude that McKenney’s
provided base subcontract work after May 8, 2019, and thus timely
filed its Miller Act claim against Cincinnati.” ECF No. 173 at 13.

Defendants’ Objections do not mention, much less identify any
error in, Judge Miller’s recommendations concerning the
statute-of-limitations issue. See ECF No. 176. Objections “must be
made ‘with sufficient specificity so as reasonably to alert the
district court of the true ground of the objection.’” Scott v.

Virginia Port Authority, No. 2:17-cv-176, 2018 WL 1508592, at *2

 

(E.D. Va. Mar. 27, 2018) (Jackson, J.) (quoting United States v.
Midgette, 478 F.3d 616, 622 (4th Cir. 2007)). “Objections must

also respond to specific errors in the report and recommendation
because general or conclusory objections are not proper. General
or conclusory objections are the equivalent of a waiver” Id.
(internal citation omitted) (citing Orpiano v. Johnson, 687 F.2d
44, 47 (4th Cir. 1982)). If any other rule applied, “judicial
resources would be wasted and the district court’s effectiveness
based on help from magistrate judges would be undermined.” See

Midgette, 478 F.3d at 622.

Because Defendant did not mention the issue in its Objections,
it failed to properly object to any aspect of Judge Millier’s
recommendation concerning Cincinnati’s statute-of-limitations

argument. The court finds no error on the face of the record, and

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therefore ADOPTS and APPROVES the Magistrate Judge’s conclusion
that Plaintiff is not entitled to summary judgment on this issue.
2. Damages Not Recoverable Under the Miller Act
Before the United States may award a contract subject to the
Miller Act, the prime contractor generally must obtain a payment
bond in an amount equal to “the total amount payable by the terms
of the contract ... .” 40 U.S.C. § 3131(b) (2). Contractors who
have “furnished labor or material in carrying out work provided
for in a contract [subject to the Miller Act]
may bring a civil action on the payment bond for the amount unpaid
.” 40 U.S.C. § 3133(b) (1). This provides an “alternative
remedy” for such contractors who ordinarily could obtain a
mechanic’s lien against the private property they have improved.
See F.D. Rich Co., v. United States ex rel. Indus. Lumber Co., 417
U.S. 116, 121-22 (1974). Given its remedial purpose, the Miller
Act “is to be given a liberal construction ‘in order properly to
effectuate the Congressional intent to protect those whose labor
and materials go into public projects.’” United States ex rel.
Sunbelt Pipe Corp v. U.S. Fid. & Guar. Co., 785 F.2d 468, 470 (4th
Cir. 1986) (quoting Clifford F. MacEvoy Co. v. United States ex

rel. Calvin Tompkins Co., 322 U.S. 102, 107 (1944)).

 

Nevertheless, a subcontractor’s potential recovery against a
payment bond surety is not necessarily coextensive with what he

may recover from the general contractor. If “a subcontractor fully

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performs its contractual obligations, but the prime contractor
fails or refuses to pay the subcontractor,” the surety must “‘pay
the compensation to which the parties have agreed, although this
amount exceeds the cost of labor, materials, and overhead.’” United
States ex rel. E. Waterproofing & Restoration Co. v. Berkley Reg’ l
Ins. Co., 986 F. Supp. 2d 660 (D. Md. 2013) (quoting United States
ex rel. Woodington Elec. Co., v. United Pac. Ins. Co., 545 F.2d
1381, 1383 (4th Cir. 1976)). However, “when a prime contractor
breaches or terminates a subcontract, the subcontractor cannot
recover expectation damages from the Miller Act surety.” Berkley,
986 F. Supp. 2d 665. In other words, the subcontractor may recover
the entire subcontract price for work actually performed, but may
not recover for work that it was to perform, but did not actually
complete due to the prime contractor’s breach.

Similarly, subcontractors may recover from a surety for
damages related to project delays, but only “for additional or
increased costs actually expended in furnishing the labor or
material in the prosecution of the work provided for in the
contract and attributable to the delay.” United States ex rel.
T.M.S. Mech. Contractors, Inc. v. Millers Mut. Fire Ins. Co. of
Tex., 942 F.2d 946, 952 (5th Cir. 1991). Thus, the surety’s
liability is limited “to the subcontractor’s ‘out-of-pocket costs
of delay.’” Id. (quoting United States ex rel. Pertun Constr. Co.

v. Harvesters Group, Inc., 918 F.2d 915, 918 (lith Cir. 1990)).

 

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“Generally, the word ‘labor’ in the Miller Act includes
‘physical toil, but not work by a professional, such as an
architect or engineer.’” United States ex rel. Constructors, Inc.
v. Gulf Ins. Co. , 313 F. Supp. 2d 593, 597 (E.D. Va. 2004) (Smith,
J.) (quoting United States ex rel. Naberhaus-Burke, Inc. v. Butt
& Head, Inc., 535 F. Supp. 1155, 1158 (S.D. Ohio 1982)). However,
“skilled professional work which involves actual superintending,
supervision, or inspection at the job site” is covered. Id.
(quoting Naberhaus~Burke, 535 F. Supp. at 1160).

The Miller Act’s definition of “material” includes “things
which will be incorporated in the project itself,” as well as
“expendable and other things reasonably expected to be consumed,
or substantially consumed, in the performance of the work.” Sunbelt
Pipe Corp., 785 F.2d at 470. However, “[a] thing which may
reasonably be expected to be removed by the contractor and used in
subsequent jobs is a part of the contractor’s capital equipment,”
and does not qualify. Id.

Plaintiff asserts a Miller Act claim against Cincinnati
pursuant to Leebcor’s payment bond, seeking “at least $562,884” in
amounts owed for labor and material furnished to complete the
Project. ECF No. 1 41 73-78. This is the same amount Plaintiff
seeks from Leebcor for its alleged breaches of the Subcontract.
Id. §@ 72. Cincinnati argues that it is “entitled to summary

judgment as to Plaintiff’s damages other than for materials and

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labor,” which it claims are “embedded in all of [Plaintiff’s]
claims.” ECF No. 119 at 16-17. In support of its Motion,
Cincinnati cites to portions of Plaintiff’s expert’s report,
taking issue with the expert’s calculation of damages “based on a
series of alleged costs, including overhead, lost profits, tool
rentals, salaried employees, and more.” Id.

The Magistrate Judge recommended denying summary judgment on
this issue, concluding that “Cincinnati [did] not identif [y]
specific components of [Plaintiff’s] damages that are conclusively
outside the Miller Act.” R&R at 21. He explained that Cincinnati
“failed to identify [Plaintiff’s] allegedly unrecoverable damages
with sufficient particularity,” and that a reasonable juror could
find that Plaintiff can recover at least some of the costs included
in each broad category Cincinnati identifies. Id. at 23-24.
Defendants object, arguing that Cincinnati adequately identified
categories of impermissible damages that Plaintiff asserts, and
that “[t]he specific amounts for these impermissible charges
are identified in detail in [Plaintiff’s] expert report.” ECF
No. 176 at 20-21.

The court agrees with Judge Miller’s findings. Cincinnati
argues that summary judgment is proper because Plaintiff’s damages
calculation for the Initial Delay, other delays, out-of-scope
work, and outstanding invoices incorporate costs which are not

recoverable under the Miller Act. ECF No. 119 at 16. However,

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Cincinnati does not specify which costs within each of these
categories a reasonable juror must find exceed the “amount unpaid,”
and are therefore beyond the Miller Act’s scope. 40 U.S.C.
§ 3133(b) (1). Accordingly, it is the court’s duty to assess whether
Cincinnati has shown “that there is no genuine dispute as to any
material fact and [Cincinnati] is entitled to judgment as a matter
of law” as to the entirety of each category identified. Fed. R.
Civ. P. 56(a). Yet, Defendants concede that the allegedly
impermissible costs only constitute a “substantial portion” of the
damages Plaintiff seeks from Cincinnati. ECF No. 176 at 21.
Therefore, summary judgment as to these categories is not
warranted.

Even so, according to Defendants, “summary judgment is
appropriate to bar categories of damages that plaintiffs
inappropriately assert,” and the court should declare “as a matter
of law, certain categories of damages asserted by [Plaintiff] are
unavailable under the Miller Act.” Id. at 21-23. The court agrees,
as a general matter, that summary judgment as to a particular
category of damages can be warranted. However, whether a movant
seeks summary judgment as to a “claim,” “category of damages,” or
some other aspect of a claim or defense, it still must satisfy the
Rule 56 standard as to an identifiable issue. As explained above,
to resolve the issues Cincinnati identified in its Motion, a fact

finder must dissociate the claims and determine which damages in

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each category fall outside the scope of the Miller Act, rendering
summary judgment as to any of the categories improper.

For these reasons, and for the reasons stated in the Report
and Recommendation, the court ADOPTS and APPROVES the Magistrate
Judge’s conclusion that Plaintiff is not entitled to summary
judgment on this issue.

IV. CONCLUSION

The court ADOPTS AND APPROVES IN FULL the findings and
recommendations set forth in the Magistrate Judge’s thorough and
well-reasoned Report and Recommendation, ECF No. 173, filed on
September 20, 2021, as supplemented by this Memorandum Order.
Therefore, the court OVERRULES Defendants’ Objections, ECF
Nos. 175, 176, and DENIES all three Motions for Summary Judgment,
ECF Nos. 108, 116, 118.

The Clerk is DIRECTED to send a copy of this Memorandum Order

to counsel for all parties.

IT IS SO ORDERED. fs/__ CR
Rebecca Beach Smith

Senior United States District Judge

 

 

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

January |Q, 2022

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